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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



United States of America, et al.,

                                    Plaintiffs,
                                                        Case No. l:20-cv-03010-APM
  v.
                                                        HON. AMIT P. MEHTA
Google LLC,

                                 Defendant.


 State of Colorado, et al.,                             Case No. 1:20-cv-03715-APM

                                                        HON. AMIT P. MEHTA
                                    Plaintiffs,

v.

Google LLC,

                                    Defendant.




                              PARTIES’ JOINT STATUS REPORT

        Pursuant to the Court’s December 18, 2020 Minute Order, the Parties in State of

Colorado, et al. v. Google submit this Joint Status Report updating the Court on the status of

negotiations regarding a proposed Protective Order, Order Regarding Discovery Procedure, and

Scheduling and Case Management Order.

     1. Protective Order. The Parties met and conferred and have reached agreement on the

        protective order. The Stipulated Protective Order, applying to both of the consolidated

        cases, updates definitions to apply to Plaintiffs in both United States, et al. v. Google, No.
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   1:20-cv-03010-APM, and State of Colorado, et al. v. Google, No. 1:20-cv-03715-APM.

   The Stipulated Protective Order also reflects two additional changes. First, the Stipulated

   Protective Order now includes the following sentence at the end of Paragraph 16(d): “If

   Investigation Materials or Litigation Materials are requested for disclosure under a state’s

   public information act or the equivalent, this Order prohibits disclosure to the extent the

   state’s public information act or the equivalent provides an exception for disclosure of

   information protected by court order such as the Texas Public Information Act, Texas

   Government Code § 552.107(2).” Second, the Stipulated Protective Order reflects the

   addition of a sentence at the end of Paragraph B.2 stating that “This Order does not

   require the Plaintiffs in United States, et al. v. Google LLC reissue notice of this Order to

   Non-Parties whom already have received notice of the Protective Order in that case.”

   The Parties request that the Court (a) enter the Stipulated Protective Order, attached here

   as Exhibit 1 and (b) order the Stipulated Protective Order applies to both actions (No.

   1:20-cv-03010-APM and No. 1:20-cv-03715-APM) so there is one governing Protective

   Order. Plaintiffs in United States, et al. v. Google do not object.

2. Order Regarding Discovery Procedure. The Parties met and conferred and have

   reached agreement on the discovery order. The Stipulation and Order Regarding

   Discovery Procedure is similar to the Stipulation and Order Regarding Discovery

   Procedure entered in Untied States v. Google, No. 1:20-cv-03010-APM. The definitions

   have been updated to apply to Plaintiffs in both United States, et al. v. Google, No. 1:20-

   cv-03010-APM, and State of Colorado, et al. v. Google, No. 1:20-cv-03715-APM. The



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   Parties also updated Paragraph V.2 on privilege logs and email threading. The edits now

   clarify that a Party must produce a copy of an entire email thread communication with the

   privileged portions redacted if it wishes to log only the top-level email. The Parties

   request that the Court (a) enter the Stipulation and Order Regarding Discovery Procedure,

   attached here as Exhibit 2 and (b) order the Stipulation and Order Regarding Discovery

   Procedure applies to both cases so there is one governing discovery order. Plaintiffs in

   United States, et al. v. Google do not object.

3. Scheduling and Case Management Order. The Parties have met and conferred to

   discuss the Scheduling and Case Management Order and have made substantial progress.

   Regarding dates, the Parties agree on a proposed deadline of March 15, 2021 for the

   Plaintiff States in State of Colorado, et al. v. Google to amend pleadings and/or join

   additional parties as a matter of right. The Parties maintain different positions on when

   Plaintiff States in State of Colorado, et al. v. Google should begin producing the

   investigative materials set forth in Paragraph 7 of the Case Management Order. Plaintiff

   States propose March 15, 2021, and Defendant proposes January 29, 2021. The Parties

   present their respective positions below and will be prepared to address the dispute at the

   January 21, 2021 Status Conference. In addition, the Parties seek additional time after the

   exchange of Initial Disclosures to continue conferring regarding the number of

   depositions and written discovery requests. The Parties are coordinating with the

   Plaintiffs in United States, et al. v. Google on this issue. The Parties propose to submit a

   supplemental joint status report reflecting their further discussions to the Court on



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          January 27, 2021.

         a. Plaintiff States’ Position on Date for Investigative File Production.

         The Plaintiff States and Colorado disagree on the date when the production of

Investigation Materials should begin. The Plaintiff States take the position that the appropriate

date should be March 15, 2021, which affords Plaintiff States the same amount of time the U.S.

Department of Justice had from the date of the filing of its Complaint to when it began producing

its Investigation Materials. Establishing deadlines for initial actions that comport with the time

that the Department of Justice had to initiate the same tasks is appropriate for this consolidated

action. Thus, this Court provided the Plaintiff States with just over thirty days to file their Initial

Disclosures, although counsel for Google sought an earlier date, in light of the time that had been

available to the Department of Justice. And Google itself has agreed that the Plaintiff States will

have until March 15th to file an amended complaint as of right, again working off the Depart of

Justice schedule. Yet, Google seeks an order of this Court requiring that the Plaintiff States begin

production of the Investigation Materials on January 29, 2021. The disparity is plain; where the

Department of Justice had from October 20, 2020 until January 15, 2021 to begin the production

of Investigation Materials, the Plaintiff States would be afforded only a week, even though the

Colorado et al. Complaint includes as plaintiffs 38 states, commonwealths, territories, and the

District of Columbia. Thus, the Plaintiff States request that the date for the initiation of the

production of Investigation Materials commences on March 15, 2021.

         b. Defendant Google’s Position on Date for Investigative File Production.

         Plaintiffs should begin production of the investigative materials described in Paragraph 7

of the CMO 1 no later than January 29, 2021, rather than waiting until March 15, 2021. As


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    Paragraph 7 requires production of basic materials that should be easily produced, such as any
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Defendant explained at the recent status conferences in now-consolidated Case No. 1:20-cv-

03010-APM, until Plaintiffs complete production of these materials, the Parties cannot determine

“whether the discovery the government has taken largely will accomplish what we all need for

purposes of litigation, or whether it looks like [Plaintiffs’] pre-complaint discovery isn’t close to

being what’s going to be required and we’re going to have to start much closer to – from

scratch.” Status Tr. 19:19–24, Nov. 18, 2020. Plaintiffs have been aware of the importance of

this issue for months, as Google has raised it repeatedly on the record at prior status conferences

that Plaintiffs listened in on, and again at the most recent status conference, where Plaintiffs were

active participants. As the Court observed in addressing production of the Department of

Justice’s investigative materials, “this material is going to get produced,” and it represents “a

good way in which to get things going and ensuring that that the defendants have the material

that sort of, perhaps, rests with the core of the government’s case so that we can get things

started in a productive and effective way.” Dec. 18, 2020 Status Conf. Tr. 33:7–13. The only

reasons why the Department of Justice’s production did not begin sooner were (1) to allow the

parties to negotiate a Protective Order, and (2) the December holidays.

         In light of Plaintiffs’ familiarity with this issue and the fact that a Protective Order has

been agreed to by the parties in this case, Plaintiffs should be prepared to produce their

investigative materials. Plaintiffs’ delay is particularly disruptive now that their case has been

consolidated, at their request, with Case No. 1:20-cv-03010-APM. The Department of Justice

was ordered to begin producing its investigative file on January 15, and the Plaintiffs’

unjustifiable delay undermines Plaintiffs’ own proposal for keeping these cases on the same

track.


CIDs issued by Plaintiffs to the third parties identified in their initial disclosures, and the
documents produced to Plaintiffs in response to those CIDs.
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DATED:   January 19, 2021              Respectfully submitted,

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